
Grover, J.
The question principally argued by the counsel for the appellant is not, I think, necessarily involved in the decision of this case. That question is, whether, in actions' brought by the people, counter-claims or set-offs can be interposed by the defendant, the same as in actions prosecuted by individuals. Neither do I think it necessary to determine whether the defendants were at liberty to avail themselves of an indebtedness to the bank in this suit. The evidence offered and rejected, upon the trial, did not tend to show any indebtedness, legal or equitable (in a legal sense of the latter term), of the State to the bank. • The offer was, to show that the State Prison, at Sing Sing, had borrowed money from the bank, and had expended the same in purchasing supplies *226and food, &amp;c., for the prisoners. This was the counter-claim set up in the answer, and this was what the defendants offered to prove, and all they offered to prove.
The case states, that the evidence was rejected on the solé ground that, in an action by the State to recover money, no counter-claim or set-off can be allowed; to which ruling the defendant’s counsel excepted. It is clear, that error cannot be predicated of the ground assigned for a ruling, or upon which it was made, when it appears clear that any different ruling upon the question would have been erroneous. In the present case, if the evidence offered and rejected, in no possible view had a tendency to show any counter-claim by the bank against the State, its rejection was proper, and it was wholly immaterial to the defendants upon what ground it was based. This applies only to cases where it is impossible to obviate the difficulty on trial.
It only remains to show, that the evidence offered had no tendency to show any counter-claim, either at law or in equity, in favor of the bank, against the State. This appears, from the total want of authority of the agent of the prison to borrow money on the credit of the State. It was not'pretended that any such authority was conferred by any act of the legislature, even if that department of the government could confer such power upon him. (See Const., Art. 10, §8.) Nor did any other department of government pretend to give him any such authority. All that appears is, that the agent wanted money -for the use of the prison, and the banks loaned it to him. He had no color of authority to borrow upon the credit of the State. If he had, every canal superintendent—indeed, nearly every administrative officer—-possesses the same power. If this be so, it is utterly impossible to preserve any control over the State finances. It is clear, that the agent had no power to borrow the money. His so doing created no equitable or legal claim against the State, cognizable by the courts. The claim is entirely analogous to that of a party who should expend money to improve the real estate of a non-resident owner, without his knowledge or assent. He would have no claim to reimbursement that could be enforced at law, or in equity. His only remedy would be to lay. the facts before the owner) *227and be content with what he was willing to give. So in the present case, should the State consent to become suable on claims by individuals, no action for this claim could be maintained by the bank. Its only remedy is an application to tho legislature, and it must content itself with what that body may deem justice in the premises.
Meantime this debt of the bank to the State, for which these defendants have become sureties, should be promptly paid. The judgment appealed from should be affirmed.
